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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Athenex, Inc.

2.   All other names debtor
     used in the last 8 years     FKA Kinex Pharmaceuticals, Inc.
     Include any assumed          DBA Kinex Pharmaceuticals
     names, trade names and       Athenex Sciences
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Conventus Building
                                  1001 Main Street, Suite 600
                                  Buffalo, NY 14203
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.athenex.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Athenex, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5417

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Athenex, Inc.                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1 attached hereto                                  Relationship               Affiliate
                                                                Southern District
                                                    District    Texas, Houston          When                                 Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Athenex, Inc.                                                                   Case number (if known)
         Name


16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Athenex, Inc.                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 14, 2023
                                                  MM / DD / YYYY


                             X   /s/ Nicholas K. Campbell                                                 Nicholas K. Campbell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Offier




18. Signature of attorney    X   /s/ Michael D. Warner                                                     Date May 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Warner
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 440 Louisiana Street
                                 Suite 900
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     714-384-4740                  Email address      mwarner@pszjlaw.com

                                 00792304 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                  Rider 1 to Voluntary Petition

On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
11 case (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.


1.      Athenex Pharma Solutions, LLC

2.      Athenex Pharmaceutical Division, LLC

3.      Athenex R&D LLC

4.      Athenex, Inc.

5.      Cell Medica, Inc.

6.      Kuur Therapeutics Inc.




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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                      Southern District of Texas
 In re       Athenex, Inc.                                                                               Case No.
                                                                                 Debtor(s)               Chapter      11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-38112 .

2. The following financial data is the latest available information and refers to the debtor's condition on            12/31/2022    .

 a. Total assets                                                                                     $                204,055,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                228,236,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated                 $                       0.00                                    0
 secured                 unsecured                   subordinated                 $                       0.00                                    0
 secured                 unsecured                   subordinated                 $                       0.00                                    0
 secured                 unsecured                   subordinated                 $                       0.00                                    0
 secured                 unsecured                   subordinated                 $                       0.00                                    0

 d. Number of shares of preferred stock                                                                         0                                    0

 e. Number of shares common stock                                                                        413,205                                 118
    Comments, if any:


3. Brief description of Debtor's business:
   A global oncology focused biopharmaceutical company dedicated to the discovery, development and commercialization of
   novel therapies for the treatment of cancer, aiming to develop safer and more efficacious cancer medication.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   Perceptive Advisors LLC
   IP Group PLC




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                SECRETARY’S CERTIFICATE

                                                OF

                                        ATHENEX, INC.

                                           May 12, 2023


         The undersigned hereby certifies that she is the duly elected and qualified acting Secretary
of Athenex, Inc., a Delaware Corporation (the “Company”), and further certifies in such capacity
that attached hereto as Exhibit A is a true, complete and correct copy of resolutions duly adopted
by the board of directors of the Company. Such resolutions have not been amended, modified or
rescinded since their adoption and remain in full force and effect as of the date hereof.

        IN WITNESS WHEREOF, the undersigned has executed this Secretary’s Certificate as
of the date first set forth above.




                                              Jennifer Shiao
                                              Secretary, Athenex, Inc.




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                                  RESOLUTIONS OF THE
                                 BOARD OF DIRECTORS OF
                                     ATHENEX, INC.


        The undersigned, constituting all of the members of the Board of Directors (the “Board”)
of Athenex, Inc., a Delaware corporation (the “Company”), acting in accordance with Section
141(f) of the General Corporation Law of the State of Delaware and the Company’s Amended and
Restated Bylaws (the “Bylaws”), hereby adopt the following recitals and resolutions effective as
of May 12, 2023.

WHEREAS, the Board of Directors has reviewed and considered the financial and operational
condition of the Company and the Company’s business on the date hereof, including the historical
performance of the Company, the assets of the Company, the current and long-term liabilities of
the Company, and the market for the Company’s products and services;

WHEREAS, the Board of Directors has received, reviewed, and considered the recommendations
of the senior management of the Company and the Company’s legal and other advisors as to the
relative risks and benefits of pursuing a bankruptcy proceeding under the provisions of chapter 11
of Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”);

NOW, THEREFORE, BE IT RESOLVED that, in the judgment of the Board of Directors, it is
desirable and in the best interests of the Company, its creditors, stockholders, and other interested
parties, that a voluntary petition be filed by the Company under the provisions of chapter 11 of the
Bankruptcy Code;

        RESOLVED, that the officers of the Company (each, an “Authorized Officer”) be, and
each of them hereby is, authorized on behalf of the Company to execute, verify, and file all
petitions, schedules, lists, and other papers or documents, and to take and perform any and all
further actions and steps that any such Authorized Officer deems necessary, desirable and proper
in connection with the Company’s chapter 11 case, which include, but is not limited to, selling all
or substantially all of the Company’s assets or prosecuting a chapter 11 plan, with a view to the
successful prosecution of such case;

        RESOLVED FURTHER, that the Authorized Officers, on behalf of the Company, are
authorized and empowered to retain the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ”)
as bankruptcy counsel to represent and assist the Company in carrying out its duties under chapter
11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s rights in
connection therewith, and the Authorized Officers are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the bankruptcy, and to cause to be filed an appropriate application for authority to retain
the services of PSZJ;

       RESOLVED FURTHER, that the Authorized Officers, on behalf of the Company, are
authorized, empowered and directed to retain MERU, LLC (“MERU”) to provide certain financial
advisory and transaction advisory services to the Company, and in connection therewith, the
Authorized Officers are hereby authorized and directed to execute appropriate retention
                                                 1
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agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of MERU;

         RESOLVED FURTHER, that Nicholas Campbell of MERU has been appointed,
effective as of April 19, 2023, to serve as Chief Restructuring Officer of the Company and its
affiliates, shall be an Authorized Officer (as defined in these resolutions), and is hereby authorized
to make decisions with respect to all aspects of the management and operation of each Company’s
business including, without limitation, organization, human resources, marketing, sales, logistics,
finance, administration, oversight, of the prosecution of each Company’s bankruptcy case,
including, but not limited to, bankruptcy-related reporting requirements, filing of Statement of
Financial Affairs, Schedule of Assets and Liabilities, a chapter 11 plan and related disclosure
statement, claims management, managing outside professionals and such other aspects as he may
identify, in such manner as he deems necessary or appropriate in his sole and reasonable discretion
consistent with the business judgment rule, subject only to appropriate governance by the
applicable Board, in accordance with each Company’s certificate of incorporation, certificate of
formation, bylaws, limited liability company agreement, applicable laws and applicable
bankruptcy law and order of the Court;

        RESOLVED FURTHER, that the Authorized Officers be, and each of them hereby is,
authorized, empowered, and directed, on behalf of the Company, to retain the services of Epiq
Corporate Restructuring, LLC (“Epiq”) as the Company’s claims, noticing, and solicitation agent
and administrative advisor, and in connection therewith, the Authorized Officers are hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate
application for authority to retain the services of Epiq;

        RESOLVED FURTHER, that the Authorized Officers be, and hereby are, authorized and
empowered to employ any other professionals necessary, including but not limited to, investment
bankers, to assist the Company in carrying out its duties under the Bankruptcy Code; and in
connection therewith, the Authorized Officers are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to or immediately upon the filing
of the chapter 11 case and cause to be filed appropriate applications with the Bankruptcy Court for
authority to retain the services of any other professionals, as necessary, and on such terms as are
deemed necessary, desirable, and proper;

        RESOLVED FURTHER, that the Authorized Officers be, and each of them hereby is,
authorized on behalf of the Company to take any and all actions, to execute, deliver, certify, file
and/or record and perform any and all documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities or certificates and
to take any and all actions and steps deemed by any such Authorized Officer to be necessary or
desirable to carry out the purpose and intent of each of the foregoing resolutions and to effectuate
a successful chapter 11 case;

        RESOLVED FURTHER that the Authorized Officers be, and each of them hereby are,
authorized and empowered to obtain postpetition financing according to terms to be negotiated by
management of the Company, including under debtor-in-possession credit facilities or relating to
the use of cash collateral; and to enter into any guarantees and to pledge and grant liens on its
assets as may be contemplated by or required under the terms of such postpetition financing or
                                                  2
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cash collateral agreements; and in connection therewith, the Authorized Officers are hereby
authorized and directed to execute appropriate loan agreements, cash collateral agreements and
related ancillary documents;

        RESOLVED FURTHER, that any and all actions heretofore taken by any Authorized
Officer or the directors of the Company in the name and on behalf of the Company in furtherance
of the purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects; and

        RESOLVED FURTHER, that all acts previously done and performed (or caused to be
done and performed) in the name and on behalf of the Company prior to the date hereof in
furtherance of any of the foregoing resolutions and the actions contemplated therein be, and the
same are, ratified, confirmed and approved.




                                                3
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 Fill in this information to identify the case:

 Debtor name         Athenex, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               Corporate Ownership Statement, List of Equity Holders, Creditor Matrix
                                                                           Verification

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 14, 2023                            X /s/ Nicholas K. Campbell
                                                                       Signature of individual signing on behalf of debtor

                                                                       Nicholas K. Campbell
                                                                       Printed name

                                                                       Chief Restructuring Offier
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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    Fill in this information to identify the case:

    Debtor name    Athenex, Inc.
    United States Bankruptcy Court for the Southern District of Texas
                                                                 (State)
                                                                                                                                        Check if this is an
    Case number (If known):
                                                                                                                                        amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
  Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                    12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
  creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
  unsecured claims.


   Name of creditor and complete       Name, telephone number, and email Nature of the       Indicate if claim   Amount of unsecured claim
   mailing address, including zip code address of creditor contact        claim              is contingent,      If the claim is fully unsecured, fill in only
                                                                         (for example,       unliquidated, or    unsecured claim amount. If claim is partially
                                                                         trade debts, bank   disputed            secured, fill in total claim amount and deduction
                                                                         loans,                                  for value of collateral or setoff to calculate
                                                                         professional                            unsecured claim.
                                                                         services, and
                                                                         government
                                                                         contracts)                              Total claim, if   Deduction for    Unsecured claim
                                                                                                                 partially         value of
                                                                                                                 secured           collateral or
                                                                                                                                   setoff

1. Ingenus Pharmaceuticals                  Samir Mehta                    Trade Debt                                                              $8,088,996.00
   4190 Millenia Blvd                      info@ingenus.com;
   Orlando, FL 32839                       smehta@ingenus.com
2. Chongqing Sintaho                        Amy Wu                         Trade Debt                                                              $6,755,948.00
   Pharmaceutical                          Tel. +86-23-8896 1270
   600, Liuquing Road                      info@sintaho.com
   Maliuzui Town, Banan
   District
   Chongqing, 401319 CHINA
3. Baylor College of Medicine              Michael B. Dilling              Trade Debt        Disputed                                              $6,280,000.00
   One Baylor Plaza                        Michael.Dilling@bcm.edu
   Houston, TX 77030-3411
4. Gland Pharma Limited                    Prathyusha Pantareddy      Trade Debt                                                                   $5,481,429.00
   6-3-865/1/2, Flat No.201                gland@glandpharma.com;
   Greenland Apartments,                   Prathyusha.pantareddy@glan
   Ameerpet                                dpharma.com
   Hyderaad, 500 016 INDIA
5. Indena                                   Stephano Togni, Robert   Trade Debt                                                                    $3,731,991.00
   Viale Ortles 12 20139                   Sacco, Emanuele Agnese
   Milano, ITALY                           Tel. 257-4961
                                           stefano.togni@indena.com;
                                           roberta.sacco@indena.com;
                                           emanuele.agnese@indena.co
                                           m



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   Debtor       Athenex, Inc.                                                               Case number (if known)
               Name




  Name of creditor and complete       Name, telephone number, and email Nature of the       Indicate if claim        Amount of unsecured claim
  mailing address, including zip code address of creditor contact        claim              is contingent,           If the claim is fully unsecured, fill in only
                                                                        (for example,       unliquidated, or         unsecured claim amount. If claim is partially
                                                                        trade debts, bank   disputed                 secured, fill in total claim amount and deduction
                                                                        loans,                                       for value of collateral or setoff to calculate
                                                                        professional                                 unsecured claim.
                                                                        services, and
                                                                        government
                                                                        contracts)                                   Total claim, if   Deduction for    Unsecured claim
                                                                                                                     partially         value of
                                                                                                                     secured           collateral or
                                                                                                                                       setoff

6. GenScript Probio USA Inc.         Tiancheng Zhou             Trade Debt                                                                             $2,718,357.00
   860 Centennial Ave.              tiancheng.zhou@genscript.co
   Piscataway, NJ 08854             m
7. EverSana Life Science       Kendra Winfield, Errick      Trade Debt                                                                                 $1,400,000.00
   Services, LLC              Wright, Kaye Nearwood
   24740 Network Place        billing@Eversana.com;
   Chicago, IL 60673-1247     kaye.nearwood@eversana.co
                              m;
                              errick.wright@eversana.com;
                              kendra.winfield@eversana.co
                              m
8. MAIA Pharmaceuticals, Inc. Bikram Malik                  Trade Debt                                                                                 $1,291,535.00
   707 State Road             Maiafinance@Maiapharma.co
   Suite 104                  m
   Princeton, NJ 08540
9. Hainan Shuangcheng          Vivian Chen                  Trade Debt                                                                                 $1,182,160.00
   Pharmaceuticals            Tel. 86-898-68629718
   No. 16 Xingguo Road        vivian.chen@hnsp.com
   Xiuying District
   Haikou, 570314 CHINA
10.IBI – Istituto Biochimico   Nicola Blundo, Eleazar Fadda Trade Debt                                                                                 $1,012,758.00
   Via Fossignano, 2          Tel. +39 06 921501
   04011, Aprilia ITALY       info@ibi-lorenzini.com;
                              nblundo@ibi-lorenzini.com;
                              efadda@ibi-lorenzini.com
11.Pharmascience Inc           Peter Skoutelas, Labrini     Trade Debt                      Unliquidated                                               $1,000,000.00
   6111 Royalmount Suite 100 Skarras, Nelly De Sousa
   Montreal Quebec, H7p2t4 Tel. 438-315-3434
   CANADA                     customercarepms@pharmasc
                              ience.com;
                              NDeSousa@pharmascience.c
                              om
12.Chongqing Taihao            Amy Wu                       Trade Debt                                                                                 $924,506.00
   Pharmaceutical             Tel. +86-23-6846 5115
   C-3 High Technology Zone info@polymedt.com
   105 Chuangye Rd. Erlang
   Chongqing, 400039 CHINA




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   Debtor       Athenex, Inc.                                                                Case number (if known)
                Name




   Name of creditor and complete       Name, telephone number, and email Nature of the       Indicate if claim        Amount of unsecured claim
   mailing address, including zip code address of creditor contact        claim              is contingent,           If the claim is fully unsecured, fill in only
                                                                         (for example,       unliquidated, or         unsecured claim amount. If claim is partially
                                                                         trade debts, bank   disputed                 secured, fill in total claim amount and deduction
                                                                         loans,                                       for value of collateral or setoff to calculate
                                                                         professional                                 unsecured claim.
                                                                         services, and
                                                                         government
                                                                         contracts)                                   Total claim, if   Deduction for    Unsecured claim
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

13.Praxgen Pharmaceuticals,           Jane Li                             Trade Debt                                                                    $847,677.00
   LLC                               jane.li@praxgen.com
   9 Deer Park Driver
   Suite J-10
   Monmouth Junction, NJ
   08852
14.Maiva Pharma Private               Sellaraj Pandiyan         Trade Debt                                                                              $755,110.00
   Limited                           info@maivapharma.com;
   32, Sipcot Industrial             sellaraj.s@maivapharma.com
   Complex
   Phase I
   Hosur, 635126 INDIA
15.Eagle Pharmaceuticals, Inc.       Kim Zahn, Violeta Dyankova Trade Debt                                                                              $734,134.00
   50 Tice Blvd.                     Tel. 855-318-2170
   Suite 315                         arsupport@icsconnect.com
   Woodcliff Lake, NJ 07677
16.Deloitte & Touche LLP             Dan Whelehan                         Professional                                                                  $650,285.00
   P.O. Box 844708                   dwhelehan@deloitte.com               Services
   Dallas, TX 75284-4708
17.Brammer Bio                        Mariano Zuniga            Trade Debt                                                                              $613,692.00
   PO BOX 412576                     mariano.zuniga@thermofishe
   Boston, MA 02241-2576             r.com
18.EVER Valinject             Theresa Pachinger                           Trade Debt                                                                    $430,394.00
   Oberburgau 3              office@everpharma.com;
   Unterach, 4866 AUSTRIA    theresa.pachinger@everphar
                             ma.com
19.ACS Dobfar                 Marco Vaccari, Paolo                        Trade Debt                                                                    $335,400.00
   Viale Addetta, 6          Vigevani
   Tribiano, MI, 20067 ITALY Marco.Vaccari@acsdobfar.it;
                             paolo.vigevani@acsdobfar.it
20.Cooley LLP                 Termia White                                Professional                                                                  $261,211.00
   101 California            Tel. 585.385.1880                            Services
   5th Floor                 Termia.White@cooley.com
   San Francisco, CA 94111-
   5800
21.Ernst & Young LLP          Brett Cartner                               Professional                                                                  $242,721.00
   Pittsbg Ntnl Bnk- Pitt    Tel. 716-843-5000                            Services
   640382                    Brett.Cartner@ey.com
   Pittsburgh, PA 15264-0382


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   Debtor       Athenex, Inc.                                                                Case number (if known)
                Name




   Name of creditor and complete       Name, telephone number, and email Nature of the       Indicate if claim        Amount of unsecured claim
   mailing address, including zip code address of creditor contact        claim              is contingent,           If the claim is fully unsecured, fill in only
                                                                         (for example,       unliquidated, or         unsecured claim amount. If claim is partially
                                                                         trade debts, bank   disputed                 secured, fill in total claim amount and deduction
                                                                         loans,                                       for value of collateral or setoff to calculate
                                                                         professional                                 unsecured claim.
                                                                         services, and
                                                                         government
                                                                         contracts)                                   Total claim, if   Deduction for    Unsecured claim
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

22.Avet Pharmaceuticals Inc.   Akeisha Edwards, Juliana    Trade Debt                                                                                   $240,375.00
   One Tower Center Blvd      White
   Suite 1700                 Akeisha.Edwards@avetpharm
   East Brunswick, NJ 08816   a.com;
                              Juliana.White@avetpharma.c
                              om
23.McKesson Medical Surgical Tabitha Wozniak               Trade Debt                                                                                   $225,953.00
   P.O. Box 660266            Tel. (585) 427-8240
   Dallas, TX 75266-0266      MMS.Credit@McKesson.com;
                              Tabitha.Wozniak@McKesson.
                              com
24.Fort Schuyler Management Patricia DeLane                Landlord                                                                                     $217,803.00
   Corporation                PDeLane@sunypoly.edu
   257 Fuller Road
   Albany, NY 12203
25.Vizient Supply LLC          Carlos Barbosa              Trade Debt                                                                                   $203,581.00
   75 Remittance Drive        carlos.barboza@vizientinc.co
   Suite 1420                 m
   Chicago, IL 60675-1420
26.Charles River Laboratories James Williams               Trade Debt                                                                                   $201,224.00
   GPO Box 27812              Tel. 800-441-3550
   New York, NY 10087-7812 James.Williams@crl.com
27.Pace Analytical Life Sciences Nisheet Gupta. Carol         Trade Debt                                                                                $200,906.00
   PO Box 684056                Nesheim
   Chicago, IL 60695            Tel. 612-607-6400
                                Nisheet.Gupta@pacelabs.com
                                ;
                                carol.nesheim@pacelabs.com
28.Arnold & Porter               Kenneth Hamilton             Professional                                                                              $189,396.00
   6200 Savoy Drive             Kenneth.Hamilton@arnoldpo Services
   Suite 1200                   rter.com
   Houston, TX 77036
29.Quantum Leap Healthcare Valerie Chin                       Trade Debt                                                                                $165,000.00
   499 Illinois Avenue          Tel. 855-866-0505
   Suite 200                    v.chin@quantumleaphealth.o
   San Francisco, CA 94158      rg
30.BioAgilytix Labs LLC          Isabel Malonson              Trade Debt                                                                                $164,803.00
   2300 Englert Drive           isabel.malonson@bioagilytix.c
   Durham, NC 27713             om



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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                             Chapter 11

 ATHENEX, INC.                                      Case No. 23-_____ (___)

                              Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


            Name:          Perceptive Advisors LLC, et al
            Address:       51 Astor Place, 10th Floor
                           New York, NY 10003




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re:                                                 Chapter 11

 ATHENEX, INC.                                          Case No. 23-_____ (___)

                                   Debtor.

                               LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



                                                                                   Percentage of
                   Equity Holder                 Address of Equity Holder
                                                                                    Equity Held
   Aidan M Mccormack                         170 Sands Point Rd                      0.0278%
                                             PORT WASHINGTON NY 11050-
                                             1129
   Amy Yah-Ping Shiao                        4115 Fennel Terrace                      0.0242%
                                             FREMONT CA 94538
   Andrew Schoeppich                         20 Lehn Springs Dr                       0.0424%
                                             WILLIAMSVILLE NY 14221-6904
   Annalisa Mary Jenkins                     P O Box 1152                             2.4688%
                                             PRINCETON NJ 08542-1152
   Avalon Biomedical (Management)            11-13 & 15 15/F Tower 2                  8.2148%
   Limited                                   Grand Central Plaza
                                             138 Shatin Rural Committee Road
                                             Shatin Nt
                                             HONG KONG
   Avalon Polytom Limited                    Units 11-13 & 15                         1.2972%
                                             15/F Tower 2
                                             Grand Central Plaza
                                             138 Shatin Rural Committee Road
                                             Shatin Nt
                                             HONG KONG
   Baylor College Of Medicine                Attn General Counsel                     5.0420%
                                             1 Baylor Plaza
                                             Suite 106 A
                                             HOUSTON TX 77030


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                                                                   Percentage of
                   Equity Holder        Address of Equity Holder
                                                                    Equity Held
   Beni Wolman                      5 Ave 10-55 Zona 14              0.0273%
                                    #08 01014
                                    GUATEMALA
   Betty A Gallagher                54 Nevada Oval                   0.0666%
                                    PLATTSBURGH NY 12903-3968
   Bharat C Thakrar                 5747 N Odell Avenue              0.0002%
                                    CHICAGO IL 60631
   Carlos Esteban Caparros          Araujo 285                       0.0958%
                                    Buenos Aires 1408
                                    ARGENTINA
   Carrie Kenner                    18 Castle Ridge Dr               0.0036%
                                    EAST HANOVER NJ 07936-3548
   Carter G Gantz                   3024 Carmel St                   0.0532%
                                    DALLAS TX 75204-6121
   Charles A Grau                   53 Gathering Rd                  0.1764%
                                    Brook
                                    PINE BROOK NJ 07058
   Cheng Albert Feng                1231 S Golden West Ave 6         0.0012%
                                    ARCADIA CA 91007
   Chia Yu Chang                    8f No 175 Hongshulin Rd          0.0061%
                                    Tamsui Dist
                                    New Taipei City 71 251
                                    TAIWAN
   Clyde Salandra                   631 Downing Ln                   0.1363%
                                    BUFFALO NY 14221-8058
   Crowley Family Trust             32 Belvedere Road                0.0073%
                                    BUFFALO NY 14220
   Dan Higbee                       196 Argonne Dr                   0.0024%
                                    KENMORE NY 14217-2432
   David A Bangert                  8128 Floss Ln                    0.3940%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.2662%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.1597%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.1401%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.1065%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.1065%
                                    EAST AMHERST NY 14051-1977

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                                                                   Percentage of
                   Equity Holder        Address of Equity Holder
                                                                    Equity Held
   David A Bangert                  8128 Floss Ln                    0.0532%
                                    EAST AMHERST NY 14051-1977
   David A Bangert                  8128 Floss Ln                    0.0479%
                                    EAST AMHERST NY 14051-1977
   David Guido                      802 Niagara Pkwy                 0.0024%
                                    NORTH TONAWANDA NY 14120-
                                    4128
   David J Altman                   5062 Donnington Road             0.4088%
                                    CLARENCE NY 14031
   Deborah Lipp                     22 S Roycroft Blvd               0.0012%
                                    CHEEKTOWAGA NY 14225-2033
   Diane J Mcmahon                  6548 Monterey Point              0.0363%
                                    103
                                    NAPLES FL 34105
   Douglas Cox                      6550 Colonial Drive              0.0760%
                                    BOSTON NY 14025
   Edryce H Cadden                  615 Crofton Ave                  0.0024%
                                    HIGHLAND PARK IL 60035-3909
   Edward Pionke                    924 W Margate Ter 1e             0.0361%
                                    CHICAGO IL 60640
   Edward Plata                     56 Grand View Trail              0.0409%
                                    ORCHARD PARK NY 14127
   Edward T Plata                   56 Grand View Trail              0.0695%
                                    ORCHARD PARK NY 14127
   Elizabeth Evans                  5482 Rolling Creek Dr            0.0024%
                                    CLARENCE NY 14031-1132
   Fortune Tong Limited             Attn William Yuen Fai Lai        1.0648%
                                    12/F East Town Bldg 41
                                    Lockhart Road
                                    Wan Chai
                                    HONG KONG
   Frank H Penski                   15 Avenue De La Mer              0.0278%
                                    Unit 2601
                                    PALM COAST FL 32137
   Garth D Gallagher                54 Nevada Oval                   0.0666%
                                    PLATTSBURGH NY 12903-3968
   George M Narby                   610 Prestwick Dr                 0.0537%
                                    DOTHAN AL 36305-1194
   Gregory P Ohara                  1808 Patio Dr                    0.0278%
                                    SAN JOSE CA 95125-5649


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                                                                    Percentage of
                   Equity Holder         Address of Equity Holder
                                                                     Equity Held
   Guy Plonka                         1058 Clinton Street             0.0099%
                                      ATTICA NY 14011
   Harika Keerthi                     2275 E Fandango Dr              0.0012%
                                      GILBERT AZ 85298-1124
   Holly Jane Emerson                 16 Lakeside Drive               0.0133%
                                      PALM COAST FL 32137
   Horace Loh                         2405 Dianna Lane                0.2662%
                                      St Paul
                                      SAINT PAUL MN 55117
   Hugo William Avila                 12 Calle 21-45 Zona 11          0.0344%
                                      Apt A 01011
                                      GUATEMALA
   Ildiko Bezi                        124 Macarthur Dr                0.0048%
                                      EDISON NJ 08837-2828
   Irene Vasquez                      2301 S Ocean Dr                 0.0549%
                                      # 1902
                                      HOLLYWOOD FL 33019
   Jacobo Sabbaj & Perla Sabbaj Tr Ua 311 Westover Drive              0.1984%
   08/08/2018 Jacobo And Perla Sabbaj BIRMINGHAM AL 35209
   Living
   Jeffrey W Sacks                    45 Old Colony Road              0.0140%
                                      Newton
                                      CHESTNUT HILL MA 02467
   Jennifer A Emberly                 112 Marinda Dr                  0.0140%
                                      FAIRFAX CA 94930
   Jennifer G Van Haall               1436 W Rue Paris Pl             0.0121%
                                      INVERNESS IL 60067-1225
   Jennifer Kurzdorfer                39 Deer Trail                   0.0012%
                                      CHEEKTOWAGA NY 14227-1610
   Jing Li                            Haitangxiaoyue C11-16-2         0.4356%
                                      Nanping East Road 587#
                                      Nanan District
                                      Chongqing
                                      CHINA
   Jinn Wu                            6 Dey Farm Drive                1.2713%
                                      PRINCETON JCT NJ 08550-2840
   John M Vierling                    6435 Brompton Road              1.2713%
                                      HOUSTON TX 77005
   John P Patti Jr                    10 Meadowbrook Dr               0.1065%
                                      ELMA NY 14059-9524


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                                                                       Percentage of
                   Equity Holder           Address of Equity Holder
                                                                        Equity Held
   Johnson Lau                         6230 Cedar Creek Drive           16.2418%
                                       HOUSTON TX 77057
   Jorge G Guerra & Elsa D Guerra Tr   251 Crandon Blvd                  0.0002%
   Ua 01/06/2014 Jorge And Elsa        # 736
   Guerra Trust                        KEY BISCAYNE FL 33149
   Jose Leon Antonio Arango            4 Ave 22-22 Zona 14               0.1984%
                                       #012 01014
                                       GUATEMALA
   Joseph Voelkl                       210 Briarhill                     0.0547%
                                       WILLIAMSVILLE NY 14221
   Julie Ulrich                        8872 Woodside Dr                  0.0145%
                                       EDEN NY 14057-1400
   Jung-Tzu Hus                        C/O Athenex                       0.0036%
                                       Conventus Building
                                       1001 Main Street Suite 600
                                       BUFFALO NY 14203
   Karen Frisella                      587 A Shoreline Rd                0.0121%
                                       LAKE BARRINGTON IL 60010-7381
   Karen Gatewood                      771 Wild Ginger Rd                0.0121%
                                       SUGAR GROVE IL 60554-9280
   Kathleen Sardina                    9354 Pinyon Court                 0.0242%
                                       CLARENCE CENTER NY 14032-
                                       9143
   Kent Keating                        237 Main St                       0.0341%
                                       Suite 1701
                                       BUFFALO NY 14203
   Kirit C Thakrar                     1934 Sheridan Rd                  0.0448%
                                       BUFFALO GROVE IL 60089-8019
   Kristin Tomas                       177 N Park Ave                    0.0121%
                                       BUFFALO NY 14216-2419
   Larry Yushiao                       4115 Fennel Terrace               0.0242%
                                       FREMONT CA 94538
   Main Life Corporation Limited       9/F Winning Centre                6.5159%
                                       46-48 Wyndham Street
                                       Central
                                       HONG KONG
   Mandra Health Limited               Attn Ben Tang                     3.4750%
                                       10/F Fung House
                                       19-20 Connaught Road
                                       Central
                                       HONG KONG

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                                                                    Percentage of
                   Equity Holder         Address of Equity Holder
                                                                     Equity Held
   Manson Fok                        House 3                          1.1217%
                                     56 Repulse Bay Road
                                     Repulse Bay
                                     HONG KONG
   Mary Anne Furlani                 160 Independence Drive           0.0244%
                                     ORCHARD PARK NY 14127
   Michael J Endl                    2 Four Winds Way                 0.0661%
                                     SNYDER NY 14226
   Michael Smolinski                 92 Newgate                       0.0121%
                                     AMHERST NY 14226
   Michelle L Redman                 4125 Elma Rd                     0.0048%
                                     WILLIAMSVILLE NY 14221-7337
   Min-Fun Rudolf Kwan               9 Friar Tuck Circle              7.8346%
                                     SUMMIT NJ 07901
   Min-Fun Rudolf Kwan               9 Friar Tuck Circle              0.3696%
                                     Circle Summit
                                     SUMMIT NJ 07901
   Monica H Sussman                  10972 Boca Woods Ln              0.0140%
                                     BOCA RATON FL 33428-2850
   Monika Sokolowski                 232 Nathans Trail                0.0085%
                                     LANCASTER NY 14086
   Murray John Cutler                1001 Main St Apt 600             0.0012%
                                     BUFFALO NY 14203-1009
   Mustafa Ladha                     1296 Noah Rd                     0.0024%
                                     NORTH BRUNSWICK NJ 08902-
                                     1319
   Norman J Gantz                    200 Ahwahnee Rd                  0.1597%
                                     LAKE FOREST IL 60045
   Patrick Gallagher                 750 N Tamiami Trl                0.1452%
                                     Unit 619
                                     SARASOTA FL 34236-4075
   Perceptive Life Sciences Master   C/O Perceptive Advisors Llc     32.4239%
   Fund Ltd                          Attn Steve Berger
                                     51 Astor Place 10th Floor
                                     NEW YORK NY 10003
   Raymond Lynnworth & Rochelle      308 Clinton Avenue               0.3797%
   Lynnworth Ten Com                 TOMS RIVER NJ 08753
   Richard C Stoddard                208 Spyglass Ln                  0.7171%
                                     JUPITER FL 33477-4091



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                                                                       Percentage of
                   Equity Holder           Address of Equity Holder
                                                                        Equity Held
   Richard F Langan Jr                  114 East 84th Street             0.0278%
                                        Apt 3b
                                        NEW YORK NY 10028
   Robert Cabana                        18 Devon Rd                      0.2948%
                                        BOONTON NJ 07005
   Robert Jay Spiegel                   400 Elm Street                   0.4487%
                                        WESTFIELD NJ 07090
   Rosario De Jesus Carrillo            3a Calle 06-23 Zona 15 01015     0.0547%
                                        GUATEMALA
   Russell Jeffrey Bodner               9n321 Barron Rd                  0.0073%
                                        MAPLE PARK IL 60151-9406
   Sadashiv S Shenoy                    78 Brownstone Court              0.1484%
                                        EAST AMHERST NY 14051
   Sameer Urgaonkar                     11908 Tivoli Park Row            0.0061%
                                        Unit 8
                                        SAN DIEGO CA 92128-4347
   Samuel Zwierzchowski                 94 Bramhill Court                0.0024%
                                        EAST AMHERST NY 14051-2408
   Stephanie Davis                      Korn Ferry                       0.7105%
                                        1900 Avenue Of The Stars
                                        Flr 26
                                        LOS ANGELES CA 90067
   Stephen J Wallace                    45 Sutton Sq Sw                  0.0278%
                                        Unit 401
                                        WASHINGTON DC 20024-3483
   Stephen M Meltz                      2001 Tower Dr Unit 340 D         0.0133%
                                        GLENVIEW IL 60026
   Stephen M Meltz                      2001 Tower Dr                    0.0121%
                                        Unit 340
                                        GLENVIEW IL 60026-7810
   Stephen M Newman                     109d Palm Bay Drive              0.0002%
                                        PALM BEACH GARDENS FL 33418
   Steven G Kamen Tod On File Subject   63 Vista Drive                   0.0900%
   To Cpu Rules                         SARATOGA SPGS NY 12866
   Susan S Robfogel                     9182 Luckenbach Hill Road        0.0278%
                                        SPRINGWATER NY 14560
   Tamara B Owen                        23 Lakeview Ct                   0.0017%
                                        ELMA NY 14059-9288
   Thomas C Underwood                   8697 Hartshorn Road              0.1331%
                                        CORFU NY 14036


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                                                                   Percentage of
                   Equity Holder        Address of Equity Holder
                                                                    Equity Held
   Thomas Hecht                     Buergenstockhoehe 15ch 6403      0.7747%
                                    Kuessnacht
                                    SWITZERLAND
   Thomas R Elmer Jr Tod On File    5713 E River Rd                  0.0682%
   Subject To Cpu Rules             GRAND ISLAND NY 14072-1051
   Tiffany Nolan                    1666 Florence Dr                 0.0024%
                                    SYCAMORE IL 60178-1022
   Timothy D Cook                   30 Clove Hitch Ln                0.7996%
                                    SANTA RSA BCH FL 32459
   Tom Trometer                     23 Cary Avenue                   0.0065%
                                    LEXINGTON MA 02421
   Triwu Property Management Llc    Attn Michael Mazzone Manager     0.0133%
                                    1322 S Wabash Ave Unit A
                                    CHICAGO IL 60605
   Tsang Benson Kwan Hung           1701 Block 19 Heng Fa Chuen      1.7200%
                                    Chaiwan
                                    HONG KONG
   Usha Ganatra                     Gulab Mension Room No 1          0.0448%
                                    Maharashtra Nagar Lt Rd
                                    Borivali West
                                    Mumbai Maharashtra 40092
                                    INDIA
   Varda Ulhaq                      303 Blossom Cr                   0.0024%
                                    DAYTON NJ 08810-2404
   Wayne Mertz                      320 S Cayuga Rd                  0.0121%
                                    BUFFALO NY 14221
   Will Murray                      38 Summerfield Dr                0.0024%
                                    LANCASTER NY 14086-9469
   Totals                                                           100.00%




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                        Chapter 11

    ATHENEX, INC.                                                 Case No. 23-_____ (___)

                                       Debtor.

                              CERTIFICATION OF CREDITOR MATRIX


        Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the above
captioned debtor and its affiliated debtors in possession (collectively, the “Debtors”)1 hereby
certify that the Creditor Matrix submitted herewith contains the names and addresses of the
Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete,
correct, and consistent with the Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex, Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 1001 Main Street, Suite 600, Buffalo,
    NY 14203.
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